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                                                                     FILED: May 23, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                            No. 23-1502
                                       (8:20-cv-03564-ADC)
                                      ___________________

        TANJANEKA JONES

                     Plaintiff - Appellant

        v.

        ELI LILLY AND COMPANY

                     Defendant - Appellee

                                      ___________________

                                           ORDER
                                      ___________________

              The court extends the briefing schedule as follows:

              Joint appendix due: 07/11/2023

              Opening brief due: 07/11/2023

              Response brief due: 08/10/2023

              Any reply brief: 21 days from service of response brief.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
